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                            EXHIBIT A
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GIBBONS P.C.
Robert K. Malone, Esq.
Brett S. Theisen, Esq.
Kyle P. McEvilly, Esq.
One Gateway Center
Newark, New Jersey 07102-5310
Telephone: (973) 596-4500
E-Mail: rmalone@gibbonslaw.com
         btheisen@gibbonslaw.com
         kmcevilly@gibbonslaw.com

Special Counsel for the Official
Committee of Unsecured Creditors

                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF NEW JERSEY




    In re:                                                          Hon. Vincent F. Papalia
                                                                    Chapter 11
                                                 1
    BED BATH & BEYOND, INC., et al.,                                Case No. 23-13359 (VFP)
                            Debtors.                                (Jointly Administered)


       DECLARATION OF ROBERT K. MALONE PURSUANT TO 28 U.S.C. § 1746 IN
         SUPPORT OF FIRST AND FINAL APPLICATION OF GIBBONS P.C. FOR
           COMPENSATION OF PROFESSIONAL SERVICES RENDERED AND
        REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM MAY 23, 2023
                        THROUGH SEPTEMBER 29, 2023

         ROBERT K. MALONE, of full age, under penalty of perjury, hereby declares as

follows:

             1.   I am an attorney at law admitted to practice in the State of New Jersey, the United

States District Court for the District of New Jersey, the United States District Court for the


1
  The last four digits of Debtor Bed Bath & Beyond, Inc.’s tax identification number are 0488. A complete list of the
Debtors in the Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the website of
the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor Bed Bath &
Beyond, Inc.’s principal place of business and the Debtors’ service address in the Chapter 11 Cases is 650 Liberty
Avenue, Union, New Jersey 07083.
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Southern and Eastern Districts of New York, and the United States Court of Appeals for the Third

Circuit. I am a Director at the law firm of Gibbons P.C. (“Gibbons” or the “Firm”), special counsel

to the Official Committee of Unsecured Creditors (the “Committee”) of the above-captioned

debtors and debtors in possession (collectively, the “Debtors”).

           2.       I make this declaration (the “Declaration”) in support of the First and Final

Application of Gibbons P.C. for Compensation of Professional Services Rendered and

Reimbursement of Expenses for the Period from May 23, 2023 through September 29, 2023 (the

“Application”).2 I make this Declaration on personal knowledge or on information and belief as

set forth herein.

           3.       Specifically, I have reviewed the information contained in the Application and

believe that such information is accurate and complies with the Bankruptcy Code, the Bankruptcy

Rules and the Local Rules. In addition, in connection with preparing the Application, Gibbons has

made a reasonable effort to comply with the U.S. Trustee’s requests for information and additional

disclosures set forth in the Appendix B Guidelines for Reviewing Applications for Compensation

and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11

Cases, effective November 1, 2013 (the “U.S. Trustee Guidelines”).                           Gibbons specifically

responds to certain questions identified in the U.S. Trustee Guidelines as follows:

           Question 1:       Did Gibbons agree to any variations from, or alternatives to, Gibbons’
                             standard or customary billing rates, fees or terms for services pertaining to
                             engagements of this nature that were provided during the Application
                             Period?

                            Answer:           No.

           Question 2:       If the fees sought in the Application as compared to the fees budgeted for
                             the time period covered by the Application are higher by 10% or more, did
                             Gibbons discuss the reasons for the variation with the client?


2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Application.



                                                            2
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                    Answer:        The fees sought in the Application are less than the fees
                                   budgeted for the time period covered by the Application,
                                   which were $200,000.00.

     Question 3:    Have any of the professionals included in the Application varied their
                    hourly rate based on the geographic location of the bankruptcy case?

                    Answer:        No.

     Question 4:    Does the Application include time and fees related to reviewing or revising
                    time records or preparing, reviewing or revising invoices?

                    Answer:        The Application includes time and fees related to reviewing
                                   or revising time records or preparing, reviewing or revising
                                   invoices for consistency with the Local Rules and U.S.
                                   Trustee Guidelines in connection with the preparation of the
                                   Application.

     Question 5:    Does the Application include time for fees for reviewing time records to
                    redact any privileged or other confidential information?

                    Answer:        No.

     Question 6:    If the Application includes any rate increases since the retention in these
                    cases, did the client agree when retaining Gibbons to accept all future rate
                    increases? If not, did Gibbons inform the client that they need not agree to
                    modified rates or terms in order to have Gibbons continue the representation
                    consistent with ABA Formal Ethics Opinion 11-458?

                    Answer:        The Application does not include any rate increases.


     I hereby declare under penalty of perjury that the foregoing is true and correct.


Executed on: November 13, 2023                         GIBBONS, P.C.

                                                       By: /s/ Robert K. Malone
                                                       Robert K. Malone, Esq., Director




                                              3
